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                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MARYLAND

Maryland Chapter of the Sierra Club et al.
                                                                                                           *
       Plaintiff,
                                                                                                           *
       v.                                                                                                                             Case No. 22-cv-2597
Federal Highway Administration et al.
                                                                                                           *

       Defendant.                                                                                          *

                                                    DISCLOSURE OF CORPORATE INTEREST


Check all that apply:
                                                                                                       National Trust for Historic Preservation in the United States
       I certify, as party/counsel in this case that
                                                                                                                                                     (name of party)

is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
partnership or other business entity, not a party to the case, has a financial interest in the outcome
of this litigation as defined in Local Rule 103.3 (D. Md.).




                                                                                                                  National Trust for Historic Preservation in the United States
       The following corporate affiliations exist with                                                                                                                                                                      :
                                                                                                                                                          (name of party)


National Trust Historic Real Estate Debt Fund, LLC. (DE), National Main Street Center, Inc. (DE), National Trust Community Investment Corporation (DE), Greenrock Corporation (NY), & Cooper-Molera Preservation LLC (CA)

                                                                                                                                                                                                                            .
                                                                                            (names of affiliates)




    The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have a financial interest in the outcome of this litigation:

                                                                                                                                                                                                                            .
                                                                           (names of entities with possible financial interests)




DisclosureCorpInterest (03/2015)
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Disclosure of Corporate Interest




    In a case based on diversity jurisdiction, the following is a list of all members of

________________________________ and their states of citizenship:
           (name of LLC party)



___________________________________                    ____________________________________
           (name of member)                                              (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                              (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                              (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                              (state of citizenship)




Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet of paper.




10/11/2022                                             /s/ Peter J. DeMarco
Date                                                   Signature
                                                       Peter J. DeMarco (D. Md. Bar No. 19639)
                                                       Printed name and bar number
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